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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

 UNITED STATES OF AMERICA                         *   CRIMINAL NO. 14-0144-03


 VERSUS                                           *   JUDGE ROBERT G. JAMES


 GARY LLOYD HUNTER                                *   MAG. JUDGE KAREN L. HAYES

                                      JUDGMENT

       The Report and Recommendation of the Magistrate Judge having been considered, and

the parties having waived their objections thereto,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the District Court

accepts the guilty plea of the defendant, Gary Lloyd Hunter, and adjudges him guilty of the

offense charged in Count 6 of the indictment against him.

       In Chambers, at Monroe, Louisiana, this 17th day of March, 2015.
